                  Case 01-01139-AMC              Doc 22841-1         Filed 08/18/09      Page 1 of 1

                         UNITED STATES BANKRUPTCY COURT
                                  District of Delaware

In Re:
W.R. GRACE & CO.
7500 Grace Drive                         Chapter: 11
Columbia, MD 21044
 EIN: 65−0773649

W.R. Grace & Co., et al.

 EIN: 65−0773649                         Case No.: 01−01139−JKF



        NOTICE OF FILING OF TRANSCRIPT AND OF DEADLINES RELATED TO RESTRICTION AND
                                         REDACTION

    A transcript of the proceeding held on 7/30/2009 was filed on 8/19/2009 . The following deadlines apply:

    The parties have seven days to file with the court a Notice of Intent to Request Redaction of this transcript. The
deadline for filing a request for redaction is 9/8/2009 .

    If a request for redaction is filed, the redacted transcript is due 9/18/2009 .

     If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is 11/16/2009 unless extended by court order.

    To review the transcript for redaction purposes, you may purchase a copy from the transcriber (see docket for
Transcriber's information) or you may view the document at the clerk's office public terminal.




                                                                                Clerk of Court
Date: 8/18/09




(ntc)
